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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                         www.flsb.uscourts.gov
                                             CHAPTER 13 PLAN (Individual Adjustment of Debts)
                       ■     MMM                          Original Plan
                                                                    Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                    Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Joel Densmore                                 JOINT DEBTOR: Marilee Densmore                              CASE NO.: 19-16334
SS#: xxx-xx- 5272                                        SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                       Included       ■    Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                       Included       ■    Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                 ■    Included            Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                  1.   $2,101.00           for months           1         to            60     ;

                  2.                       for months                     to                   ;

                  3.                       for months                     to                   ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                               NONE          PRO BONO
        Total Fees:           $3500.00           Total Paid:               $500.00                 Balance Due:            $3000.00
        Payable           $150.00        /month (Months     1       to 20 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:


        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
          1. Creditor: JP Morgan Chase
             Address: 3415 Vision Drive                  Arrearage/ Payoff on Petition Date
                      Columbus OH, 43219
                                                         MMM Adequate Protection                           $1,760.00      /month (Months   1   to 60 )

          Last 4 Digits of
          Account No.:              0787


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        Other:

        ■   Real Property                                                              Check one below for Real Property:
                 ■ Principal   Residence                                               ■     Escrow is included in the regular payments
                   Other Real Property                                                       The debtor(s) will pay       taxes    insurance directly
        Address of Collateral:
        1701 SW 6th Ave.
        Boca Raton, FL 33486
             Personal Property/Vehicle
        Description of Collateral:
            B. VALUATION OF COLLATERAL:                            NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:            ■   NONE
                   2. VEHICLES(S):         ■   NONE
                   3. PERSONAL PROPERTY:               ■   NONE
            C. LIEN AVOIDANCE              ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                   ■   NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                       NONE
                   ■   The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                       confirmation of this plan the automatic stay be terminated in rem as to the clebtor(s) and in rem and in personam as to any
                       codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                      Name of Creditor                 Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                      Broward County Tax                                            1300 SE 1 Way, Deerfield Beach, FL 33441
                   1. Collector

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                             ■   NONE
            B. INTERNAL REVENUE SERVICE:                       ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                        ■    NONE
            D. OTHER:          ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
              A. Pay           $150.00         /month (Months 21          to 60 )
                   Pay                         /month (Months             to       )
                   Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
              B.         If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
              C. SEPARATELY CLASSIFIED:                    ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority creditors
              pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in
            this section shall not receive a distribution from the Chapter 13 Trustee.
                   ■   NONE
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VII.    INCOME TAX RETURNS AND REFUNDS:                     ■   NONE
VIII.   NON-STANDARD PLAN PROVISIONS                 NONE
          Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
          Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.


        ■   Mortgage Modification Mediation
             1. The debtor has filed a Verified Motion for Referral to MMM with:
             JP Morgan Chase                                                                                                     ("Lender")
             loan number 0787
             for real property located at 1701 SW 6th Ave. Boca Raton, FL 33486

             The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
             Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
             modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
             petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
             contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
             due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
             such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
             by the trustee and not upon receipt by the lender.

             Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
             proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
             stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
             of the plan or modified plan.

             If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
             pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
             with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
             14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
             modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

             If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
             days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
             the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
             necessary to complete the settlement.

             In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
             disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

             If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
             filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
             Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
             property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
             relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
             confirm that the automatic stay is not in effect as to the real property.

             Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
             of Claim.




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                 PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


 s/ Joel Densmore                      Debtor    May 14, 2019                 s/ Marilee Densmore    Joint Debtor   May 14, 2019
 Joel Densmore                                         Date                    Marilee Densmore                           Date




   Attorney with permission to sign on                 Date
            Debtor(s)' behalf
  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph VIII.




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